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                          Exhibit 8

         #!"# <L=IMBAL =I@ ,MMOHKNEJI
         ,CLAAHAIN -ANQAAI 8IA-A=?JI
         3IMOL=I?A .JHK=IS =I@ 923.
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